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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                        ENTERED
                                                                                   October 03, 2016
                    IN THE UNITED STATES DISTRICT COURT
                                                                                  David J. Bradley, Clerk
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                   §
                                           §      CRIMINAL ACTION H-13-135-2
v.                                         §
                                           §      CIVIL ACTION H-16-1611
RAFAEL ARMANDO GARCIA                      §


                      MEMORANDUM OPINION AND ORDER

       Defendant filed a pro se motion under 28 U.S.C. § 2255 to vacate, set aside, or correct

his sentence (Docket Entries No. 150, 153). The Court stayed the case pending issuance of

mandate by the Fifth Circuit Court of Appeals in United States v. Gonzalez-Longoria, No.

15-40041. Mandate issued in Gonzalez-Longoria on August 5, 2016.

       The Government has filed a motion to lift the stay and dismiss the section 2255

motion (Docket Entry No. 163). Under Rule 4(b) of the Rules Governing Section 2255

Proceedings for the United States District Courts, the Court may dismiss a section 2255

motion without a response where “it plainly appears from the motion, any attached exhibits,

and the record of prior proceedings that the moving party is not entitled to relief.”

       In his section 2255 motion, defendant argues that the definition of “crime of violence”

under section 924(c)(3)(b) is unconstitutionally vague in light of Johnson v. United States,

135 S. Ct. 2551 (2015). But Gonzalez-Longoria now forecloses that argument, in that the

Fifth Circuit held that 18 U.S.C. § 16(b) – which defines “crime of violence” the same as in

section 924(c)(3)(b) – “is not unconstitutionally vague.” Gonzalez-Longoria, 2016 WL
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4169127, at *1. Consequently, it plainly appears to the Court that defendant is not entitled

to relief, and his section 2255 motion will be denied and dismissed with prejudice.

       The Government’s motion to lift the stay and dismiss the section 2255 motion (Docket

Entry No. 163) is GRANTED. Defendant’s section 2255 motion (Docket Entries No. 150,

153) is DENIED and DISMISSED WITH PREJUDICE. A certificate of appealability is

DENIED.

       Signed at Houston, Texas on October 3, 2016.




                                                       Gray H. Miller
                                                 United States District Judge




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